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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION


   BABY DOE, et al.,                                   )
                                                       )
                 Plaintiffs,                           )
                                                       )
   v.                                                  )      Case No. 3:22-cv-49-NKM
                                                       )
   JOSHUA MAST, et al.,                                )
                                                       )
                 Defendants,                           )
                                                       )
   and                                                 )
                                                       )
   UNITED STATES SECRETARY OF                          )
   STATE ANTONY BLINKEN, et al.,                       )
                                                       )
                 Nominal Defendants.                   )
                                                       )

           [PROPOSED] ORDER GRANTING DEFENDANT RICHARD MAST’S
          MOTION TO FILE UNDER SEAL EXHIBIT 18 TO HIS MEMORANDUM
         IN OPPOSITION TO PLAINTIFFS’ MOTION FOR PROTECTIVE ORDER

          This matter is before the Court on Defendant Richard Mast’s Motion To File Under Seal

   Exhibit 18 to his Memorandum In Opposition to Plaintiffs’ Motion For Protective Order (Dkt. No.

   171), pursuant to Local Rule 9 and the Protective Order (Dkt. No. 26). Richard Mast requests the

   entry of an order allowing him to file Exhibit 18 referenced above under seal. Having established

   grounds for sealing that information, the Court ORDERS Richard Mast’s Exhibit 18 (Dkt. No.

   171-18) to be SEALED until further Order of this Court.



   Accordingly, Richard Masts’ motion to seal will be and hereby is GRANTED.

          It is so ORDERED.
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   The Clerk of Court shall send a certified copy of this Order to all counsel of record.



   Charlottesville, Virginia                                    __________________________
   Dated: _______________                                       Norman K. Moon
                                                                United States District Judge
